      Case 4:15-cv-02072-MWB Document 5-2 Filed 10/26/15 Page 1 of 1



Considerationfor the Accused Student

  •   Whether responsible or not responsible, the allegation of this type of behavior may be
      overwhelming.
  •   Often, when asked if a person has committed a sexual assault they would say no, however
      asking if they participated in certain "behaviors" may get a different response.
  •   We are addressing a topic that the student may not have ever discussed in public before.
  •   The support system for the accused student will vary - friends, family mayor may not be
      aware or if aware, may not be supportive.
  •   The emotions of the accused may range throughout the proceedings; they may find
      themselves trying to defend actions that even they do not understand.
  •   The typical level of sanction in these cases will warrant some level of suspension - the
      pressure on the student may be expressed in anger, frustration, fear, even humor.

Considerationfor the Alleged Victim

  •   Consider the personal nature of the information they are sharing; Info not shared even with
      close friends, but now with strangers.
  •   Victim may be hesitant to acknowledge behaviors which are violations of policy for fear of
      recourse.
  •   Responses of Victim will vary - anger, fear, anxiety, guilt, self-blame, shame, may all be
      apparent.
  •   Victim may present as calm, composed, subdued, crying.
  •   Recall may come in waves. Victims may recall things in hearings that they did not recall
      initially.
  •   Victims may be non-trusting of the process and those who represent the process - this could
      be a direct outcome of what has occurred - someone they trusted betrayed them.
  •   Although the percentage of false reports is 2%, most victims assume they are not believed.
      Otherwise - why would there be a hearing?
  •   Victims need evidence of concern, safety, and security & validation of feelings; this can be
      difficult given the unbiased approach necessary for the Board.

Considerationfor Designees, Board members, etc.

  •   We come to the table with biases and assumptions from our own experience with the issue.
  •   Most have not had experience in questioning others about their sexual experiences.
  •   We need to acknowledge the difficulty it may be for students involved to talk about their
      personal lives to strangers.
  •   During a disciplinary conference or a hearing we need to keep our own responses and
      reactions in check and know when it would be best to request a break.
  •   We may be challenged to distinguish between violations of policy and poor judgment.
  •   Board members must be comfortable knowing that their decision may lead to a student's
      separation.
  •   We need time to process feelings associated to our personal reaction to what is being shared
      in the hearing.



                                     Exhibit 3
